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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                            Crim. No. 18-CR-32-2 (DLF)
               v.
                                            FILED UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



            PARTIES’ JOINT MOTION FOR LEAVE TO FILE UNDER SEAL

       The United States of America, by and through undersigned counsel, and Concord

Management and Consulting LLC, through counsel, respectfully move for leave of the Court to

file the attached Exhibit 1 under seal. This exhibit consists of the parties’ jointly proposed

redactions to the transcript of the November 7, 2019 telephonic hearing, which was held under

seal. The parties do not object to the unsealing of this motion once the Court rules on the parties’

proposed redactions to the transcript; however, they ask that Exhibit 1 remain under seal.

                              Respectfully submitted,


JOHN C. DEMERS                                               JESSIE K. LIU
Assistant Attorney General for National Security             United States Attorney

By: /s/                                                      By: /s/
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